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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



  STEFANO GRANATA; JUDSON THOMAS;
  COLBY CANNIZZARO; CAMERON PROSPERI;
  THE GUN RUNNER, LLC; and FIREARMS
  POLICY COALITION, INC.,
                                                            CIVIL ACTION
                                  Plaintiffs,               NO. 1:21-cv-10960-DJC

                             v.

  ANDREA JOY CAMPBELL, in her official
  capacity as Attorney General of the Commonwealth
  of Massachusetts; and TERRENCE M. REIDY, in
  his official capacity as Secretary of the Executive
  Office of Public Safety and Security of the
  Commonwealth of Massachusetts,

                                  Defendants.



                JOINT STATEMENT PURSUANT TO LOCAL RULE 16.1(d)

         Having conferred pursuant to Fed. R. Civ. P. 26(f) on December 22, 2023, with further

consultation thereafter by e-mail, counsel for the above-captioned parties hereby submit this

Joint Statement pursuant to Local Rule 16.1(d) in advance of the Scheduling Conference set for

January 16, 2024.

   I.       Initial Disclosures

         Counsel for the Parties have conferred regarding the Initial Disclosures required by

Fed. R. Civ. P. 26(a) and have agreed to waive initial disclosures given the nature of the case.

   II.      Joint Discovery Plan and Schedule for Motions

         The Parties have met and conferred about the deadlines and time frames for the discovery

and other pretrial-related events. The Parties agree on the dates for the time to add parties and to


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amend the pleadings. Otherwise, the Parties do not fully agree about the appropriate schedule of

deadlines and time frames, and thus they provide below separate proposals for the remaining

dates in the pretrial schedule:

                                             Plaintiffs’ Proposal      Defendants’ Proposal
     Time to Join Parties                    March 1, 2024             March 1, 2024
     Time to Amend Pleadings                 March 1, 2024             March 1, 2024

     Fact Discovery Complete (including      August 30, 2024           October 4, 2024
     written discovery and non-expert
     depositions)
     Expert Discovery
     Exchange of all expert reports as       July 1, 2024              November 22, 2024
     required by Rule 26(a)(2)(B):

     Exchange of all rebuttal expert         July 31, 2024             January 10, 2025
     reports:

     Expert discovery (including             August 30, 2024           February 21, 2025
     depositions) completed:

     Dispositive Motions (including for
     summary judgment)
     Plaintiffs’ Motion                      October 11, 2024          April 9, 2025

     Defendants’ Opposition and Cross-       November 8, 2024          May 14, 2025
     Motion
     Plaintiffs’ Reply and Opposition to     December 6, 2024          June 4, 2025
     Cross-Motion

     Pre-Trial Motions                                                 60 days after dispositive
                                                                       motions decided
     Final Pre-Trial Conference                                        To be set by Court




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    III.      Certifications Pursuant to Local Rule 16.1(d)(3)

           The Plaintiffs’ Certification pursuant to Local R. 16.1(d)(3) is attached hereto as Exhibit

A. The Defendants’ Certification pursuant to Local R. 16.1(d)(3) is attached hereto as Exhibit B.

    IV.       Consent to Trial by Magistrate Judge

           Pursuant to Local R. 16.1(b)(3) the Parties’ counsel have conferred with respect to

whether they will consent to trial before a magistrate judge. The Parties do not consent to

referring this case to a magistrate judge for trial.



Respectfully submitted,


STEFANO GRANATA; JUDSON THOMAS;                         ANDREA JOY CAMPBELL, ATTORNEY
COLBY CANNIZZARO; CAMERON                               GENERAL, and SECRETARY TERRENCE
PROSPERI; THE GUN RUNNER, LLC; and                      M. REIDY,
FIREARMS POLICY COALITION, INC.,

By their attorneys,                                     By their attorneys,

/s/ Richard C. Chambers, Jr.                            /s/ Phoebe Fischer-Groban
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Dated: January 5, 2024




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                               CERTIFICATE OF SERVICE

I certify that this document filed through the CM/ECF system will be sent electronically to
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on January 5, 2024.

                                                   /s/ Phoebe Fischer-Groban
                                                   Phoebe Fischer-Groban
                                                   Assistant Attorney General




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